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                    Exhibit A
Re: Notice of Application for TRO and OSC for USDC Case C10-03143 THH ADR
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    From: ejordening@gmail.com
      To: Raye Mitchell <mitchellsr@aol.com>
  Subject: Re: Notice of Application for TRO and OSC for USDC Case C10-03143 THH ADR
      Date: Sun, Sep 5, 2010 2:21 pm

 All parties that I filed that motion for will be represented by other counsel. Mario is making those arrangements as we
 speak and I have CC'd him on this e- mail as well. You do whatever you think is necessary. You know for someone who
 seems to act like they are so professional you certainly know how to lie and manipulate and be deceptive. You got me
 on that one. In fact I would say you excel at that particular skill. Somehow you got the wrong message in law school.
 Deception and Manipulation are not the keys to being an effective advocate for a client. Mario knows that I am not able
 to represent him or the other entities and I am substituting out as counsel of record. You go ahead and be a good
 advocate for your client. For your information it is a holiday weekend. Go have some fun. From what I can see you don't
 know the first thing about that. Sara will be the lead attorney of record, however she is out of town. I have never lied or
 made a declaration that is false. Good Day! Do not e-mail again. Ever!

 Sent via BlackBerry by AT&T

 From: Raye Mitchell <mitchellsr@aol.com>
 Date: Sun, 05 Sep 2010 17:06:27 -0400
 To: <ejordening@gmail.com>
 Subject: Re: Notice of Application for TRO and OSC for USDC Case C10-03143 THH ADR

 Ms. Jordening:

 I have no personal axe to grind with you. I am representing my client and their interest. I am
 following the rule of law, no more and no less. I am sorry for your personal situation, but I am not
 sure how and what you will require of me. You are the lead attorney of record and I am following
 all proper procedures. A letter from other counsel is not the same as a substitution of counsel. I
 have a duty to my client to prepare this case and since your elected to sign as the lead counsel in
 this matter, I cannot just ignore that fact.

 If you did not desire to represent this client, you were not obligated to do so and in fact, I recall
 you sent me a same or similar email on at least two other occasions stating you are leaving the
 representation of the client when in fact that did not occur. The association notice does not extend
 to all the parties you filed an appearance for in this case.

 I am a professional and intend to conduct this litigation at a high level of respect for the rules of
 the court and the law. I have never asked for anything more. If there is a factual and legal basis
 for a submission to the court, that is compliant with Rule 11 requirements, I have no issues, but if
 the filing is submitted for the purpose of delay or evasive, then I will bring that matter to the
 attention of the Court. I have no control over your request to the Court to be substituted out of
 the matter, but I must advise you that Judge Henderson is a veteran and a professional and as you
 must know Federal Court Judges do in fact hold legal counsel to high ethical standards.

 I had a case once where, despite the the fact that the parties reached settlement, the Federal
 Judge issued an Order to Show Cause to my opposing counsel as to why the opposing counsel
 should not be sanctioned for filing unfounded papers on behalf of the client. The Counsel plead
 that the matter had settled and he was in fact seeking to get off of the case. The Judge stated
 that the Court had a duty to uphold the integrity of the system. I practice in Federal Court because
 the judges have a higher professional standard, actually apply the law, and yes, expect quality work

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 product from counsel that appear in their courts. They really do not like frivolous filings and they
 really do not like counsel that file documents that amount to an effort to commit a fraud on the
 court.

 I made several efforts to meet and confer as to the various filings. I provided all required notices.
  I am not the judge of this matter, I am counsel for my clients and my clients would like to see the
 justice system work. We are both officers of the Court and have a duty to uphold the integrity of
 the process. I provided objections to you filing for a suspended company and you did not respond.
  I provided objections to hardcopy filings in an electronic case, you did not respond. In deed, you
 filed the responsive pleadings on August 6, 2010 and did not submit a copy until August 9, 2010.
  That was improper. You attached a declaration that was knowingly false and misleading. Your
 memorandum of law in support of the motion was written in first person and appears more of your
 attempt at a declaration. You provide no supporting case law authority that is on point. Your
 declarations are patently false and misleading. You attache documents that not relevant to a
 motion to dismiss based on jurisdiction. In short, as lead counsel, you succeed in avoiding a
 default application by filing a frivolous motion. Even if you apply for an application to to be
 dismissed for Juarez and The Mario Juarez Selling Team, you are still on for the other company.
  Next, your filing completely contradicts your statements under oath --how can you represent "The
 Mario Juarez Selling Team" and file a paper on its behalf and then argue it is not an entity and that
 if it is anything it is owned by Terracota LLC as alleged in another declaration prepared under your
 watch.

 I am not making these facts up and I am not the person that has submitted these documents to
 the Court.

 Based on the record that you are lead Counsel, I will proceed unless and until there is an order
 dismissing you from this matter.

 Regards,


 Raye Mitchell
 Game Changers are Always Breaking the Rules for Good.
 Please consider all communications in this email private and confidential.


 -----Original Message-----
 From: ejordening@gmail.com
 To: Raye Mitchell <mitchellsr@aol.com>
 Sent: Sun, Sep 5, 2010 1:12 pm
 Subject: Re: Notice of Application for TRO and OSC for USDC Case C10-03143 THH ADR

 Miss Mitchell, I would like to apologize for anything I have done to offend you either professionally or personally.
 Sometimes people make mistakes. Again, Sara has filed a Notice of Association and written you a letter. I am trying to
 relieve myself as attorney of record because I am grieving the loss of my father right now and have two very small
 children who are completely dependent on my emotional well being, I am not your enemy. All I am asking is that you
 respect what I am telling you so that I don't have an emotional breakdown. If I do then who will provide for my children?
 One of those pimps on International Blvd? I think if you have a heart or possess any understanding you will realize that I
 am asking for some time to substitute out of this matter. I can't do anything until Tuesday. Please let go of your anger
 toward me. Again I apologize for anything that I may have done to offend you either professionally or personally. If you

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 knew me you would know that I am a very generous and non adversarial person. I always ask my clients to do the right
 thing regardless of what the are legally required to do. For your sake don't let your anger cloud your professional
 judgment. If you want to destroy me then go ahead but you need to know that you will also be destroying my 23 month
 old little girl Autumn Jewel and my 5 year old daughter Sophia as well. So with all due respect I am requesting your
 professional courtesy of substituting out of this case next week as I have being planning on doing this once Sara came
 on board. Respectfully yours, Erika Jordening Confidential Settlement Communication.
 Sent via BlackBerry by AT&T

 From: Raye Mitchell <mitchellsr@aol.com>
 Date: Sun, 05 Sep 2010 15:51:15 -0400
 To: <ejordening@gmail.com>
 Subject: Re: Notice of Application for TRO and OSC for USDC Case C10-03143 THH ADR

 Unless and until I receive any notices of appearances and a Court Order approving any change in
 counsel of record, you are the counsel of record as specified in the Court Docket. As I assume you
 know, you have to have the Court sign an order for substitution of counsel in a Federal Case. I
 have no reason to believe that such an order has been submitted or signed by the Court and
 certainly none before this TRO is submitted.

 You have been notified and you can act accordingly.

 Regards,



 Raye Mitchell
 Game Changers are Always Breaking the Rules for Good.
 Please consider all communications in this email private and confidential.


 -----Original Message-----
 From: ejordening@gmail.com
 To: Raye Mitchell <mitchellsr@aol.com>; marioj@mariojuarez.com; all-neil@comcast.net
 Sent: Sun, Sep 5, 2010 12:46 pm
 Subject: Re: Notice of Application for TRO and OSC for USDC Case C10-03143 THH ADR

 Miss Mitchell, you need to send this to Sara, defense counsel assigned to this case by Farmers. As soon as I receive my
 substitution of attorney from Mario I will no longer be attorney of record. Sara will be handling this matter from this point
 forward and I believe she is returning to the office on Tuesday, September 7, 2010. Further as I am sure you are aware,
 insurance company always controls and directs litigation once they decide to defend. I highly recommend that you direct
 all communication to Sara with sufficient notice. For your information, Saturday, Sunday, and Monday (legal holiday) do
 not constitute proper notice of anything Ex Parte. Have a nice holiday. Regards, Erika Jordening.
 Sent via BlackBerry by AT&T

 From: Raye Mitchell <mitchellsr@aol.com>
 Date: Sun, 05 Sep 2010 15:11:09 -0400
 To: <mario@mariojuarez.com>; <enedinam@mariojuarez.com>; <irmar@mariojuarez.com>; <soniad@mariojuarez.com>;
 <bernardov@mariojuarez.com>; <jimenao@mariojuarez.com>; <darlol@mariojuarez.com>; <joseo@mariojuarez.com>;
 <nunez@farmersagent.com>; <will@wjstudios.com>; <ejordening@gmail.com>; <all-niel@comcast.net>;
 <rosana@affcorp.net>
 Subject: Re: Notice of Application for TRO and OSC for USDC Case C10-03143 THH ADR

       BOYD REAL PROPERTY LLC, OWNER OF THE REAL PROPERTY LOCATED AT 4030A
        INTERNATIONAL BLVD HAS FILED A LAWSUIT IN THE UNITED STATES FEDERAL

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    DISTRICT COURT C10-03142 EMC ADR AS FOLLOWS. IN CONJUNCTION WITH THE
  COMPLIANT, THE PLAINTIFF WILL FILE A EX PARTE APPLICATION AND REQUEST FOR
   ORDER TO SHOW CASUE FOR PRELIMINARY INJUNCTION AGAINST THE FOLLOWING
 DEFENDANTS LISTED BELOW. THIS IS AN IMPORTANT NOTICE THAT PROVIDES NOTICE
                         OF THE EX PARTE APPLICATION.
  THIS CASE IS AN ELECTRONIC FILING CASE PURSUANT TO ORDER OF THE COURT AND
                      THE TRO SHALL FILE SEPTEMBER 6, 2010.

      ANY PARTY THAT DESIRES TO MEET AND CONFER MAY CONTACT THE ATTORNEY
                                     BELOW

 S. R. Mitchell (SBN 172664)
 Attorney at Law
 1300 Clay Street Suite 600
 Oakland, CA 94612
 510.836.2097 (ph)/510.380.6431 (fax)
 Attorney for Plaintiff

                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA


 Boyd Real Property LLC, a California limited liability company
                 Plaintiff,
         vs.
  The Mario Juarez Selling Team
 (form of entity unknown); Mario Juarez, an individual; The Neal Juarez LLC, a California limited liability
 company; Verdes Bio Fuel Company (form of entity unknown):American First Financial Corp. a California
 corporation;
 Fireside California Group, a California corporation; Francis Mabel Nunez, an individual;
 Erika Jordening, an individual; Edwin Ramirez, an individual; Jimena Olmos, an individual; Jennifer Juarez, an
 individual;
 Jose Ontiveros, an individual; Dario Laza, an individual, Fernando "El Carinoso" Martinez; an individual, Will
 Jimenez, an individual
 Adalberto “TITO” Gutierrez, an individual,
 Bernardo Villafuerte, an individual, Carmen Acosta, an individual, Delia Dorantes, an individual, Eleyna Felix,
 an individual, Enedina “Dina” Munguia, an individual, Ezequiel Zarate, an individual, Frank Coello, an
 individual,
 Gaberiel Ortiz, an individual Irma Reynoso, an individual, Jonathan Izazaga, an individual, Rosa Valencia, an
 individual, Rosalia Negron, an individual, Sonia Dominguez, an individual,
 Stephanie Candevan, an individual, Sue Mei, an individual, Wilfred Negron, an individual
 Does 1-10.
                 Defendants.


 Civil Case No.: C10-03142 THH ADR

 PLAINTIFF’S APPLICATION FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
 RE PRELIMINARY INJUNCTION.
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 [Files Concurrently with: Ex Parte Application for TRO and OSC re Preliminary Injunction;
 Memorandum of Points and Authorities in Support of Application for Temporary Restraining Order
 and Order to Show Cause
 Re Preliminary Injunction; and Proposed Order Granting Preliminary Injunction]

 TO THE COURT AND ALL PARTIES HEREIN:
 Plaintiff Boyd Real Property LLC (“BRP” or “Plaintiff”) hereby makes this ex parte application to the

 Court for issuance of a Temporary Restraining Order and Order to Show Cause re Preliminary
 Injunction to stop and enjoin Defendants named below, as set forth in more detail herein, from (1)
 occupying, using, storing, engaging in commercial or non-commercial activities, possession, access
 to, use, direct or indirect use, direct or indirect blocking access to the property located at and
 described as 4030A International Blvd Oakland, CA 94601; (2) to immediately cease and desist
 from making use of any of real property of Boyd Real Property LLC directly or indirectly in and by
 any means for any form of commercial or non-commercial activity on the property, and (3) to post
 a bond in the amount of no less than $ 100,000.00 and for an order to compel the Defendants to

 pay monthly rent of no less than $ 5,500.00 plus $ CAM charges of at least $ 800.00 per
 month. This request for relief is based on the fact that the Defendants are or may be insolvent
 and because of a pattern and practice of fraud and deception to evade creditors. Furthermore,
 because Defendant Mario Juarez and his Cousel Erika Jordening have and continue efforts to
 commit a fraud on this Court and in violation of Federal Rules of Civil Procedure Rule 11 filed a
 false and misleading declaration in this matter.
 This Application is made pursuant to Federal Rules of Civil Procedure 65 (b) and Local Rules 7-10
 and 65-1, on the grounds that Defendants, each of them:

 a)         Are trespassing on Plaintiff’s real property located at 4030A International Blvd Oakland, CA
 94601. Plaintiff has demanded that each and all of the Defendants remove themselves form the
 Plaintiff’s property. Defendants have failed and refused to leave the property. NO PERSON,
 ENTITY OR DEFENDANT HAS PAID ANY RENT OR USAGE FEES FOR THE PROPERTY, YET
 ALL DEFENDANTS CONTINUE TO USE THE PROPERTY FOR FINANCIAL GAIN.
 b)        The Defendants are trespassing and in violation of the Judgment for Restitution of


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 Property properly issued July 1, 2010 in Alameda County Superior Court Case No. RG10500488
 against The Mario Juarez Selling Teamand Fireside California Group, a California

 corporation. The Judgment has not been overturned. Defendants have no legal authorization to be
 on the property or remain on the property. In addition to the Judgment for Restitution, Plaintiff
 complied with California Civil Code § 3334 and served notice of termination of any alleged tenancy
 on the property. Defendants remain on the property, pay no rent and have not paid any rent,
 consume power and water that is paid for by the Plaintiff,
 c)         There is a high risk of destruction of real property as Defendants attempt to build
 counterclaims of damages on the property—despite a recent full roof repaid, Defendants made
 false reports of a leaking roof and poured water on the floors to create claims of a leaking roof.

 Defendants then prevented Plaintiff’s agents form coming on the property. Defendants some or all
 are engaging in waste and damages to the real property by creating a private nuisance including
 dumping human waste, waste and other trash on the property. Defendants all or some are
 operating unlicensed business activities and Plaintiff is informed, engaging undocumented workers
 in construction related activities on the property after hours and overnight. In doing so and
 operating the unauthorized and unlicensed activities overnight, Defendants are utilizing electrical
 power and water otherwise paid for by the Plaintiff and creating risk of injury that may render
 Plaintiff liable.

 d)        Defendants, some or all of them, are operating unlawful and unlicensed business activities on
 the property and Defendant Mario Juarez has participated in overt acts of deception and abuse of
 the legal process to deprive the Plaintiff of it property and have used threats of unfounded legal
 complaint to prevent Defendants from obtaining their property, which they have a legal right to

 recover. Defendant Mario Juarez has engaged in perjury and suborned perjury and engaged and
 engages Defendant Erika Jordening (also appearing as legal counsel for some of the Defendants in
 this case) and Attorney Lewis Phon to prepare false and misleading statements under oath to
 prevent Plaintiffs from recovery of its property.
 e)         Defendant Mario Juarez and “The Mario Juarez Selling Team” form of entity unknown is
 operating a business at the has and continues to participate in unjust enrichment activities, of

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 collecting rents or rental income from third parties allegedly utilizing the property or representing to
 the public that they are utilizing the property for commercial activities. Plaintiff did not and does not
 authorize the activity and Plaintiff has not received any compensation from Defendants or the third
 parties for their commercial use it its property.
 f)        Defendants are utilizing Plaintiff’s property to engage in a wide range of unlawful business
 practices and activities in violation of various Federal and State laws and thus in violation of
 California Business & Professions Code § 17200. Plaintiff does not authorize such activity and does
 not authorize the use of its property as part of the alleged unlawful business practices.
 g)        Defendants are and have dumped human waste, garbage and other construction debris on
 Plaintiff’s property in the warehouse area. When Plaintiff locked access to the warehouse to

 prevent further dumping and damages, Defendant Mario Juarez made a false police report against
 Plaintiff. Juarez and The Mario Juarez Selling Team never had a lease or rental agreement to use
 the warehouse for any purpose.
 h)        Defendants have a history of evading financial obligations and thus there is no monetary
 relief or recovery is unlikely as Mario Juarez alleges he is judgment proof and he has a history of
 fraudulent transfers to evade creditors. In this case, Mario Juarez has already started another
 entity, The Neal Juarez Company LLC, as a new shall to secret assets and avoid liability to his
 creditors. He has engaged in deception, hindrance and delay without legal justification to avoid
 vacating the property following termination of the tenancy and even following entry of Judgment
 for Restitution. Basically, his plan is to drive the plaintiff bankrupt while he gets free rent and gets
 his business subsidized with free electricity and water.
 i)             Defendant Mario Juarez filed a misleading and deceptive declaration with this Court on
 August 6, 2010, continuing the pattern to obstruct Plaintiff’s efforts to recover its property. Mr.
 Juarez attempts to shift responsibility for tenancy or occupancy to an alleged Terracota LLC, yet
 produces no statements from any person purporting to manage and control Terracota LLC. Mr.
 Juarez then presents a series of evasive and misleading statements intended to commit a fraud on

 the Court. Mr. Juarez alleges that he is a licensed real estate agent but conducts no real estate
 activities for Terracota LLC. He then fails to allege where he conducts his real estate business or

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 discloses to the Court that he in facts conducts the activities at 4030A International Blvd. He
 alleges hs
              Plaintiffs have and will continue to suffer irreparable harm should Defendants continue to
 hold, use and damage, block access to, occupy and use its property and its resources for their own
 financial gain and unlawful business practices. Plaintiff faces substantial and catastrophic financial
 loses and exposure to unreasonable liability or premises liability claims if Defendants are out ousted
 property and barred form access to and use of Plaintiff’s real property pending a final judgment in
 this matter. In addition, Plaintiffs face the loss of future business by Defendants’ interference with it
 existing tenants and deliberate and intentional interference with Plaintiff’s efforts to enter its
 property, and show its property to prospective tenants that will pay.
              Plaintiffs have never authorized Defendants to trespass and have made repeated demands
 that they leave the property, remove themselves and cease use and occupancy of Plaintiff’s
 property. With every day that Defendants continue to use, occupy Plaintiff’s property at 4030A
 International Blvd and attempt to prevent Plaintiffs from lawful recovery of its property, Plaintiff

 suffers financial loss and Defendants gain financial benefit and unjust enrichment. Defendants have
 no lawful justification for being on the property and have no right to occupy Plaintiff’s property
 without paying for their use.
              Accordingly, Plaintiffs respectfully request the issuance of temporary and preliminary
 injunctive relief enjoining Defendants from holding, occupying, using, access to, and entry upon the
 real property of Boyd Real Property LLC located at 4030A International Blvd Oakland CA 94601.
 Plaintiff requests injunctive relief ordering the Defendants and all of their officers, directors,
 stockholders, owners, agents, servants, employees, representatives and attorneys and all those in
 active concert or participation with Defendants or each of them, be enjoined and restrained,
 including, but not limited to, as follows:
 i)         From entry upon, remaining upon and from trespassing on Plaintiff’s real property located at
 4030A International Blvd Oakland, CA 94601.
 j)        From engaging in waste and damages to the real property by creating a private nuisance
 including dumping human waste, waste and other trash on the property.

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 k)        From operating any form of business operation or business, licensed or unlicensed business
 activities on the real property located at 4030A International Blvd and from advertisement or use of

 the address of 4030A International Blvd Oakland, CA in any capacity and for any purpose as a
 current place of business,
 l)        That Defendant Mario Juarez and “The Mario Juarez Selling Team” form of entity unknown,
 and any named occupant and Defendant be enjoined from operating and renting, leasing, or
 loaning out use of the real property located at 4030A International Blvd Oakland, CA 94601 from
 third parties allegedly utilizing the property or representing to the public that they are utilizing the
 property for commercial activities.
 m)       Enjoin all Defendants from utilizing Plaintiff’s property to engage in unlawful business
 practices and activities in violation of various Federal and State laws and thus in violation of
 California Business & Professions Code § 17200.
 n)        Enjoin Defendants from dumping human waste, garbage and other construction debris on
 Plaintiff’s property in the warehouse area.
              This Application is further made pursuant to Federal Rules of Civil Procedure Rule 65(b),
 and pursuant to California Business and Professions Code § 17200. Plaintiffs seek injunctive relief
 and damages against Defendants under principles of diversity jurisdiction over any claims arising
 under California law; Local Rules 7-10 and 65-1 on the grounds that good cause warrants this

 court issuing a temporary restraining order and preliminary injunction.
              Plaintiffs have not previously sought issuance of a Temporary Restraining Order or Order to
 Show Cause regarding the relief requested above.
              This Application is based on this ex parte notice, the attached Memorandum of Points and
 Authorities filed herewith and the exhibits attached thereto and upon such other oral and/or
 documentary evidence, if any, that may be presented at the time of or prior to the hearing on this
 matter.
              A copy of this Application, the accompanying Memorandum of Points and Authorities,
 supporting papers and the Summons and complaint in this action, shall be sent to Defendants at
 the property address of 4030A International Blvd Oakland, CA 94601 or their legal counsel of so

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 directed upon receipt of this notice, as applicable within one business day after the date of the
 filing of this Application. See the accompanying declaration of S. Raye Mitchell. Plaintiffs believe
 that both Defendants will oppose this application.

 Dated: September 3, 2010                                                   S. R. Mitchell
                                                                                    Attorney at Law


                                                                                   By: /s/ S. Raye Mitchell
                                                                                   S. Raye Mitchell
                                                                                   Attorney for Plaintiff
                                                                                   Boyd Real Property LLC


 Raye Mitchell
 Game Changers are Always Breaking the Rules for Good.
 Please consider all communications in this email private and confidential.




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